       Case: 1:20-cv-01483 Document #: 58 Filed: 08/07/20 Page 1 of 2 PageID #:873




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

  DYNAMITE MARKETING, INC.,

           Plaintiff,                                             Case No.: 1:20-cv-01483

  v.                                                              Judge Sharon Johnson Coleman

  THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Jeffrey I. Cummings
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                 7                             Topboth technology Co.LTED
                 51                        Dongguan Jingcheng Industrial Co., Ltd.


DATED: August 7, 2020                         Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      111 West Jackson Boulevard, Suite 1700
                                                      Chicago, Illinois 60604
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                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-01483 Document #: 58 Filed: 08/07/20 Page 2 of 2 PageID #:874




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 7, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
